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                                 #:6403



1                                 UNITED STATES DISTRICT COURT

2                                CENTRAL DISTRICT OF CALIFOR'NIA

3
          THE INSURANCE COMPANY OF                        CASE NO. EDCV16-00128 PSG
4         THE STATE OF PENNSYLVANIA                       (SSx)
s
                           Plaintiff,                     [PROPOSED] FINAL PRETRIAL
6                                                         CONFERENCE ORDER'
                  V.

7
          THE COUNTY OF SAN
8
          BERNARDINO, a California public
9         entity

10
"o 11                      Defendant.
11

          CO{?JNTY OF SAN BERNARDINO, a                   Courtroom:        6A
12
                                                          PTC Date:             gust 21,
                                                                            August   2 2017
          California public entity                        PTC Time:         2:3 0 p.m.
13

14
                           Counterclaimant,               Honorable Philip S. Gutierrez

15                V.                                      Complaint Filed: January 21, 2016

16 11 THE INSURANCE COMPANY OF
                                                          Trial Date: September s, 2017

17
    THE STATE OF PENNSYLVANIA, a
    Pennsylvania insurance company
18
     11                    Counterdefendant.
19

20

21

22

23

24

25

26        l The parties.her;by s.ubmit this ame.ndiled [proposed i pret
                                                                      retrial conference order
          pu.rsujnt to the Coup's d.4rective at,the : July 21, 2017 heart
                                                                      earing and are concurren.t.ly
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                               [PROPOSED] FINAL PRETRIAL CONFERF,NCE ORDER
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  . ?- (N
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23
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                                                                                                   l
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2
                Following pretrial proceedings, pursuant to F. R. Civ. P. 16 and L.R. 16, IT IS
3
" 11 oRDERED:
4
- 11            1, THEPARTIES
s
                The parties are plaintiff and counter-defendant The Insurance Company of the
6
        State of Pennsylvania (?ICSOP?) and defendant and counterclaimant the County of
7
        San Bernardino (the ?County?).
8
                Each of these parties has been served and has appeared. All other parties
9
        named in the pleadings and not identified in the preceding paragraph are now
10
" 11 dismissed.
11
                The pleadings which raise the issues are ICSOP's First Amended Complaint
1211                                            .                                         ,
     11 (Dkt. 81 ), the County's First Amended Answer (Dkt. 84), the County s Corrected
1311                .                                                                             .
     11 Counterclaim (Dkt. 16) and ICSOP's Answer to the County's Counterclaim (Dkt.
14
        18).
15
                The Court has resolved ICSOP's first cause of action (Dkts. 45, 181 at 5).
1611                                       .                      .           .           .
     11 The Court's order granting the County' s motion for partial summary 3udgment on
17
" ' 11 ICSOP's late notice defenses has resolved ICSOP's second and third causes of
1811 .
     11 action. (Dkt. 181.)
19
                ICSOP is no longer pursuing its fourth cause of action for declaratory relief
2011            .                      .            .                     .       .   .
     11 regarding the duty to indemmfy. ICSOP also withdraws its first, third, twelfth and
2111.                             .                                                           .
     ll thirteenth affirmative defenses. The Court's order on the County's motion for
2211 .                    .                                           .                               ,
     ll partial summary 3udgment on ICSOP's late notice defenses has resolved ICSOP s
23
        second, fifth, sixth, seventh and eleventh affirmative defenses.
24
                Since ICSOP has no affirmative claims left in the case, it appears that the
25 11                         .
     11 County's affirmative defenses are not necessary.
26
-? 11           2. FEDERAL JURISDICTION AND VENUE
27
                Federal jurisdiction is invoked under 28 U.S.C. 79 1332 because there is
2811                ..                     ..           .
     11 complete diversity of citizenship between and among the County and ICSOP, and
        the amount in controversy exceeds the sum or value of $75,000, exclusive of interest
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2
        and costs. The facts requisite to federal jurisdiction are admitted.
3
                Venue is invoked under 28 U.S.C. Ep 1391 because a substantial part of the
4
        events giving rise to the claims asserted by the parties occurred in this district.
s
        Specifically, the underlying claims against the County were made in this district, and
6
        the insurance policies at issue were delivered to the County in this district.
7
' 11            3, TRIALTIME
8
                The County estimates the trial will take five trial days. ICSOP estimates the
9
        trial will take five trial days.
10
?' 11           4. JURYTRIAL
11
                The trial is to be a jury trial. Pursuant to the Court's May 3, 2016 0rder for
1211             .                  .                           .
     ll Jury Trial (Dkt. 23), thirty-five (35) days before trxal, ICSOP served ICSOP's
1311                 ...                         ..                                             .
     11 proposed )ury instructions and special verdict fornns on the County. Twenty-eight
1411                         .                                                   ..
     ll (28) days before trial, the County served on ICSOP the County's ob)ections to
     11 ICSOP's instmctions together with additional instmctions the County intends to
1611                                                .               .
     11 offer. Twenty-one (21) days before trial, ICSOP will serve on the County ICSOP's
1711..                                  ..                                              .
     11 ob.)ections to the County's instructions. Twenty-one (21) days before trial, counsel
1811.                                                                                       .
     11 will meet and confer to attempt to come to an agreement on the proposed 3ury
19
        instructions.
20
                Sixteen (16) days before trial, counsel will file with the Court a joint set of
     ll 3'ury instmctions on which there is agreement. At the same time, each party will file
     ll its proposed .)ury instmctions which are ob)ected to by the other party, accompamed
2311.                             ...                         ..
     ll by points and authorities in support of those instmctions.
24
" 11            s. ADMITTED FACTS
25
                The following facts are admitted and require no proof.
26
                        a) The County is, and at all times herein mentioned was, a county
27
                                 organized and existing under the laws of California.
28
                        b) ICSOP is, and at all times herein mentioned was, a corporation
                                 organized and existing under the laws of Pennsylvania with its
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2
                      principal place of business in New York, and was authorized to
3
                      do business in California.
4
                c) ICSOP issued the following umbrella liability policies of
s
                      insurance to the County: 426-0772 (effective July 23, 1966 to
6
                      July 23, 1969) (the ?66-69 ICSOP Policy?), 429-0989 (effective
7
                      July 23, 1969 to July 23, 1972) (the "69-72 ICSOP Policy?) and
8
                      427-21195 (effective July 23, 1972 to July 23, 1975) (the ?72-75
9
                      ICSOP Policy?). The 66-69 ICSOP Policy, the 69-72 ICSOP
10
                      Policy and the 72-75 ICSOP Policy are collectively referred to as
11
                      the "ICSOP Policies.?
12
                d) The County paid all premiums on the ICSOP Policies as they
13
                      became due and payable.
14
                e) The County owns and currently operates the Mid-Valley Sanitary
15
                      Landfill (the "MVSL?) located in the City of Rialto.
16
                f) The MVSL is currently comprised of s units, denominated by the
17
                      County as Unit 1, Unit 2, Unit 3, Unit 4 and Unit s, respectively.
18
                g) The land underlying Unit l of the MVSL was acquired by the
19
                      County from Virg & Co. via a grant deed dated January 7, 1958.
20
                h) Unit l of the MVSL began landfilling operations in or around
21
                      1958.
22
                i) The land underlying Unit 2 of the MVSL was acquired by the
23
                      County from Fred M. Schulz and Walter M. Pointon, as Tmstees
24
                      of the Testamentary Tmst Estate of Edward Frederick Schulz, in
25
                      a series of three separate deeds dated August 9, 1971, August 28,
26
                      1972, and June 15, 1973, respectively.
27
               j) OnOctober9,1998,theCaliforniaRegionalWaterQuality
28
                      Control Board for the Santa Ana Region (the "RWQCB?) issued
                      cleanup and abatement order 98-96 to the County (the ?Order'5).
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2
                       k) The County incurred, and continues to incur, costs and expenses
3
                                   in complying with its obligations arising out of and related to the
4
                                   Order,
s
                       l) ByletterdatedAugust27,20l4theCountyforwarded
6
                                   documents to ICSOP concerning costs and expenses the County
7
                                   incurred in response to the Order. The letter requested that
8
                                   ICSOP acknowledge its responsibility to defend and indemnify
9
                                   the County concerning the Order within 30 days.
10
                       m) ByletterdatedSeptember3,2014,ICSOPacknowledgedreceipt
11
                                   of the documents accompanying the August 27, 2014 letter.
12
                       n) OnApril20,2017,ICSOPissueda$9millionchecktothe
13
                                   County in partial payment of amounts sought by the County in
14
                                   connection with the Order, and stated that the payment was made
15
                                   subject to a reservation of rights, including the right to seek
16
                                   complete recoupment of the payment.
17
" 11             6. STIPULATED FACTS SUBJECT TO OBJECTION
18
                 The following facts, though stipulated, shall be without prejudice to any
1911....
     ll evidentiary ob)ection: None.
20
'o? II           7. CLAIMS AND DEFENSES TO BE PRESENTED AT TRIAL
21
                 Counsel for the parties agreed at their in-person pretrial conference meeting
     ll that, since this is a declaratory )udgment action, the County shall present its claims
2311                                               ...               .    .              .
     11 first, even though ICSOP filed the imtial Complaint. With the resolution of all of
2411                     ..                 .      .             .            .
     11 ICSOP's remaimng affirmative claims, there is no other option.
25
         The County's Counterclaims and Affirmative Defenses:
26
                       a) Before the Court's Order and ICSOP's dropping of its fourth cause
27
                          of action, the County asserted the following claims against ICSOP
28
                          and affirmative defenses to ICSOP's claims:

                              1.      Counterclaim 1: Breach of Contract - Failure to Pay
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1

2
                                         "Ultimate Net Loss"
3
                             11.         Counterclaim 2: Declaratory Relief - ICSOP is Obligated
4
                                         under the ICSOP Policies to Pay for Loss Which the County
s
                                         Will Incur as a Result of the Contamination
6
                            111.         Affirnnative Defense 2: Estoppel
7
                            ?V.          Affirmative Defense 3 : Waiver
8
                             V.          Affirmative Defense 4: Laches
9
                            Vl.          Affirnnative Defense s: Unclean Hands
10
                        Vll.             Affirmative Defense 6: Breach of Contract
11
                       Vlll.             Affirmative Defense 7: Ratification
12
                            ?X.          Affirmative Defense 8: Unjust Enrichment
13
                             X.          Affirmative Defense 9: Custom and Usage
14
                            xl.          Affirmative Defense 10: Breach of Fiduciary Duty
15
                        xii. Affirrnative Defense 11: Constmctive/Actual Notice
16
                       xlll.             Affirmative Defense 12: No Prejudice
17
               Since ICSOP has dropped its fourth cause of action, however, and the Court
1811                                                                   ..         .           .       .
     11 has resolved the other three, ICSOP has no remaimng affirmative claims for relief.
1911.                              .                  ..                                  .       .
     11 Accordingly, the trial has become simplified, so that the County will present its
     11 affirmative claims (although imtially designated counterclaims), and ICSOP will
2111                    .                                    .                        .
     11 present affirmative defenses. Thus, there is no need for affirmative defenses on the
2211                    .                      ..                           ..
     11 County's part, since ICSOP is presenting no affirmative claims.
23
                     b) The elements required to establish the County's claims are:
24
' ll                          i. Counterclaim l: To establish breach of an insurance contract
25
                                         by ICSOP, the County must prove only: (1) the County
26
                                         suffered a loss, all or part of which was covered under the
27
                                         ICSOP Policies; (2) ICSOP was infornned of the loss; and (3)
28
                                         the amount of the covered loss that ICSOP failed to pay.
                                            See California Civil Jury Instmctions § 2300 (201 7);
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2
                            Isaacson v. California Insurance Guarantee Assn., 44 Cal. 3d
3
                            775, 791 (Cal. 1988); Croskey et al., California Practice
4
                            Guide: Insurance Litigation (The Rutter Group 2017) 7$
s
                             15:52, 15:924.
6
                            The County indicates that Element (2) has been established by
7
                            the Court's July 24 0rder.
8
                            ICSOP responds that the Court's Order resolved ICSOP's late
9
                            notice defense. Element (2) as framed by the County is not
10
                            limited to late notice.
11

12
                    11.     Counterclaim 2: To establish the right to a judicial declaration
13
                            against ICSOP as to its future obligations under the Policies,
14
                            the County must prove only that: (l ) the County suffered or
15
                            will suffer a loss, all or part of which was or is covered under
16
                            the ICSOP Policies; and (2) ICSOP was informed of the Ioss.
17
                               See California Civil Jury Instmctions § 2300 (201 7);
18
                            Isaacson v. California Insurance Guarantee Assn., 44 Cal. 3d
19
                            775, 791, 750 P.2d 297, 308 (Cal. 1988); Croskey et al.,
20
                            California Practice Guide: Insurance Litigation (The Rutter
21
                            Group 2017) $7 15:52, 15:924.
22
                            The County indicates that Element (2) has been established by
23
                            the Court's July 24 0rder.
24
                            ICSOP responds that the Court's Order resolved ICSOP's late
25
                            notice defense. Element (2) as framed by the County is not
26
                            limited to late notice.
27

28




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2
                c) In brief, the key evidence the County relies on for each of the claims
3
                   18:

4
                     1.     Generally, for all claims:
s
                            * The ICSOP Policies;
6
                            * Documents, percipient witness testimony, and expert
7
                               testimony regarding the occurrences and losses covered by
8
                               the ICSOP Policies (including but not limited to the
9
                               testimony of Dr. Hromadka and County personnel);
10
                            * Documents, percipient witness testimony, and expert
11
                               testimony regarding communications and negotiations
12
                               between ICSOP and the County relating to the ICSOP
13
                               Policies;
14
                            * The Order, including all amendments and communications
15
                               regarding the Order and its implementation;
16
                            * Documents, percipient witness testimony, and expert
17
                               testimony regarding communications between the County
18
                               and ICSOP relating to the County's obligations, including
19
                               those set forth in the Order;
20
                            * The August 27, 2014 letter and supporting materials from
21
                               the County to ICSOP documenting the costs and expenses
22
                               that the County incurred in connection with the
23
                               contamination at issue in the Order;
24
                            * Documents and testimony regarding the other
25
                               documentation the County provided ICSOP of costs and
26
                               expenses incurred by the County to investigate, remediate
27
                               and protect the health and safety of the residents and
28
                               citizens of the County of San Bernardino against the
                               contamination at issue in the Order (including but not
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2
                               limited to the testimony of Mr. Kinrich and Mr. Edwards);
3
                            * Documents and testimony regarding the substantial costs
4
                               and expenses, exceeding $29 million, the County incurred,
 s
                               and continues to incur, in complying with its obligations,
6
                               including those set forth in the Order;
7
                            * Documents and testimony regarding ICSOP's refusal to
 8
                               acknowledge coverage of the County's claims relating to
9
                               its costs and expenses incurred by the County to
 10
                               investigate, remediate and protect the health and safety of
 11
                               the residents and citizens of the County of San Bernardino
 12
                               against the contamination at issue in the Order; and
 13
                            * Documents, testimony, and expert opinion regarding
 14
                               ICSOP's responses to the County's claim for coverage.
 15
                    11.     Counterclaim l: (1 ) ICSOP has breached its contractual
 16
                            obligations under the Policies, including ICSOP's duty to
 17
                            indemnify the County against ?Ultimate Net Loss? that the
 18
                            County has incurred as a result of the contamination at issue
 19
                            in the Order, including, without limitation, "expenses
20
                            for. ..lawyers... .and investigators and other persons, and for
21
                            litigation, settlement, adjustment and investigation of' the
22
                            contamination at issue in the Order, as reasonably necessary
23
                            to avoid and/or minimize the County's potential liability in
24
                            connection with such Order, and to protect the health and
25
                            safety of the citizens of the County of San Bernardino.
26
                               ICSOP has delayed, refused and failed to pay any such
27
                            ?Ultimate Net Loss? incurred by the County as a result of the
28
                            contamination at issue in the Order; while ICSOP has
                            provided an illusory $9 million check, it has stated that it will
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2
                             attempt to recoup that money if it prevails at trial.
3
                                ICSOP has never provided the County with its coverage
4
                             determination, and has instead forced the County into
s
                             expensive litigation. These Policies cover pollution liability
6
                             of the County. They have no aggregate limits for the number
7
                             of occurrences they cover. The current dispute essentially
8
                             centers around the number of occurrences (the County
9
                             contends there are at least 10 and ICSOP says there is only
10
                             one). The Court rejected ICSOP's contention that there was
11
                             one occurrence as a matter of law in its July 24, 2017 0rder.
12
                             The County will present scientific and historical evidence
13
                             that, in accordance with California law and that Order, there
14
                             were at least ten different and distinct release events from
15
                             different locations throughout the Landfill in the Policy
16
                             periods, as shown by well data, computer modeling and
17
                             historical references.
18
                                As a direct and proximate result of ICSOP's breach of
19
                             contract, the County has been required to incur and pay tells
20
                             of millions of dollars to respond to property damage claims
21
                             without reimbursement. To date, this exceeds $29 million.
22
                    111.     Counterclaim 2: (l) ICSOP has breached its contractual
23
                             obligations under the Policies, including ICSOP's duty to
24
                             indemnify the County against ?Ultimate Net Loss? that the
25
                             County has incurred, and continues to incur, as a result of the
26
                             contamination at issue in the Order, including, without
27
                             limitation, "expenses for. ..lawyers....and investigators and
28
                             other persons, and for litigation, settlement, adjustment and
                             investigation of' the contamination at issue in the Order, as
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2
                         reasonably necessary to avoid and/or minimize the County's
3
                         potential liability in connection with the contamination at
4
                         issue in the Order, and to protect the health and safety of the
s
                         citizens of the County of San Bernardino.
6
                            ICSOP has delayed, refused and failed to pay any such
7
                         ?Ultimate Net Loss? incurred by the County as a result of the
8
                         contamination at issue in the Order; while ICSOP has
9
                         provided an illusory $9 million check, it has stated that it will
 10
                         attempt to recoup that money if it prevails at trial.
 11
                            ICSOP has never provided the County with its coverage
 12
                         determination, and has instead forced the County into
 13
                         expensive litigation. These Policies cover pollution liability
 14
                         of the County. They have no aggregate limits for the number
 15
                         of occurrences they cover. The current dispute centers around
 16
                         the number of occurrences (the County contends there are at
 17
                         least 10 and ICSOP says there is only one. The Court rejected
 18
                         ICSOP's contention that there was one occurrence as a matter
 19
                         of law in its July 24, 2017 0rder. The County will present
20
                         scientific and historical evidence that, in accordance with
21
                         California law and that Order, there were at least ten different
22
                         and distinct release events from different locations throughout
23
                         the Landfill in the Policy periods, as shown by well data,
24
                         computer modeling and historical references.
25
                            As a direct and proximate result of ICSOP's breach of
26
                         contract, the County has been, and continues to be, required to
27
                         incur and pay tells of millions of dollars to respond to
28
                         property damage claims without reimbursement. ICSOP
                         should be ordered to pay the County's future costs pursuant to
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 l

2
                              its Policies.
3
- 11 ICSOP's Claims and Defenses:
4
              (a) ICSOP asserted the following claims against the County:
s
              First Cause of Action - Declaratory Relief Regarding the Duty to Indemnify -
6
              The Limits of Liability of the ICSOP Policies Cannot be Stacked
7
              The non-cumulation provisions in ICSOP Policy Nos. 426-0772, 429-0989
8
      and 4272- 1195 (?ICSOP Policies?) preclude the County from stacking the limits of
9
      liability of the ICSOP Policies regardless of whether property damage takes place
 lo ll over more than one ICSOP Policy period. The Court has resolved ICSOP's first
 11 ll cause of action in ICSOP's favor. (Dkts. 45, 181 at 5.) The County maintains its
 12 ll right of appeal.
 13
              Second Cause of Action - Declaratory Relief Regarding Duty to Indemnify -
 14           Breach of Condition Precedent as to Notice

 15           The County breached Condition G, Notice of Occurrence, in the ICSOP
 16 ll Policies. The Court's order granting the County's motion for partial summary
 17 ll judgment on ICSOP's late notice defenses resolved this claim in favor of the
 18 ll County. (Dkt. 181). ICSOP maintains its right of appeal.
 19
              Third Cause of Action - Declaratory Relief Regarding Duty to Indemnify-
20            Breach of Condition Precedent as to Liability Assumed in Settlement
21            The County breached Condition J, Loss Payable of the ICSOP Policies. The
22 ll Court's order granting the County's motion for partial summary judgment on
23 ll ICSOP's late notice defenses resolved this claim in favor of the County. (Dkt. 181 ).
24 ll ICSOP maintains its right of appeal.
25            (b) The elements required to establish ICSOP's claims are:

26            First Cause of Action - The Court has resolved ICSOP's first cause of action

27 ll in ICSOP's favor. (Dkts. 45, 181 at 5).
28            Second Cause of Action - The Court has resolved ICSOP's second cause of

      action in favor of the County. (Dkt. 181).

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2
" ll           Third Cause of Action - The Court has resolved ICSOP's third cause of action
3
       in favor of the County. (Dkt. 181).
4
               (c) The key evidence ICSOP relies on for each of the claims is:
s
- ll           FirstCauseofAction
6
               Not applicable for the reasons discussed above.
7
               Second Cause of Action
8
               Not applicable for the reasons discussed above.
9
? ll           ThirdCauseofAction
 10
               Not applicable for the reasons discussed above.
 11
               (a) ICSOP asserted the following affirmative defenses to the County's
12
 " 11 counterclaim.
13             Second Affirmative Defense - The County's claims are barred by the
14 ll doctrines of laches, unclean hands, waiver and/or equitable estoppel.
15             Fourth Affirmative Defense - The County's claims are barred, in whole or in
16 ll part, by the terms, definitions, exclusions, conditions and other limitations in the
17 11 ICSOP Policies.
18             Fifth Affirmative Defense - The County's claims are barred to the extent the
19 ll County failed to comply with, or perform the obligations required by the ICSOP
2o 11 Policies.
21
               Sixth Affirmative Defense - The County's claims are barred to the extent that
22 ll Notice of the Order was not provided in the manner prescribed by the ICSOP
23 ll Policies and/or as required by law.
24
               Seventh Affirrnative Defense - The County's claims are barred to the extent
25 ll the County failed to assist and/or cooperate with ICSOP as required by the ICSOP
26 ll Policies or as implied by law.
27
               Eighth Affirnnative Defense - The County' s claims are barred to the extent
28 ll ICSOP may be entitled to contribution, setoff, indemnification, apportionment, or
       other relief from the County and/or any other insurer.

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2               Ninth Affirrnative Defense - The County' s claims are barred to the extent the
3 ll County failed to mitigate, minimize or avoid any damages it allegedly sustained.
4               Tenth Affirmative Defense - The County's claims are barred to the extent that
s ll unreasonable and/or unnecessary costs were expended by or on behalf of the County
6       in responding to the order.
7               Eleventh Affirmative Defense - The County's claims are barred to the extent
8 ll that the County voluntarily paid, assumed, and/or incurred expenses to defend or
9       settle the underlying claims without ICSOP's consent.
10              Fourteenth Affirmative Defense - The County's claims are barred by the
11
        applicable statutes of limitation.
12
                (b) The elements required to establish ICSOP's affirmative defenses are:
13
                Second Affirmative Defense - The Court's order granting the County's
14 11
     ll motion for partial summary judgment on ICSOP's late notice defenses has resolved
15 11
     ll this affirmative defense. (Dkt. 181).
16
                Fourth Affirmative Defense - An occurrence means ((an accident or a
17 11
     ll happening or event or a continuous or repeated exposure to conditions which
1811
     ll unexpectedly and unintentionally results in. . . property damage...during the policy
19 11
     ll period. All such exposure to substantially the same general conditions at or
20 11
     ll emanating from one premises location will be deemed one occurrence.? Property
21 11
     ll damage is defined as ?loss of or direct damage to or destruction of tangible property
22 11
     ll (other than property of the Named Assured).? ICSOP Policy language.
23
                The County contends that the Policy must be read as a whole, which ICSOP
24 11
     ll does not do, including other uses of the word ?occur?ence,? "premises," and ?loss"/
25 11
     ll ?such loss?/?such losses.? The County's expert, Dr. Hromadka, and its percipient
26 11
     ll witnesses will provide scientific and historical evidence showing multiple
27 11
     ll occurrences under the Policy language and this Court's July 24 0rder (Dkt. 181 )
28 11
     ll (?The ICSOP Policies define 'occurrence' in the disjunctive: an event or continuous
        or repeated exposure to conditions.?).
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2
                   ICSOP responds that the definition of occurrence is unambiguous. ICSOP
3
       contends that the evidence, including the expert testimony of Adam Love, will
4
       demonstrate that the damage for which the County seeks coverage resulted from
s
       continuous and repeated exposure to substantially the same general conditions, the
6
       release over many years of PCE and its breakdown products from the County's
7
       landfill.
8
                   Fifth Affirmative Defense - The Court's order granting the County's motion
9
       for partial summary judgment on ICSOP's late notice defenses has resolved this
1011                    .
     11 affirmative defense. (Dkt. 181).
11
                   Sixth Affirmative Defense - The Court's order granting the County's motion
1211                .                .                                       .                 .
     11 for partial summary )udgment on ICSOP' s late notice defenses has resolved this
1311                    .
     ll affirmative defense. (Dkt. 181).
14
                   Seventh Affirrnative Defense - The Court's order granting the County's
1511           .                .           .                                         .
     11 motion for partial summary )udgment on ICSOP's late notice defenses has resolved
1611.                       .
     11 this affirmative defense. (Dkt. 181).
17
                   Eighth Affirrnative Defense - Damages mean the amount of money that will
1811.                                                                            ..
     11 fairly and reasonably compensate the County for any in)ury caused by ICSOP. See
1911...                                             ..                   .
     11 Ninth Circuit Manual of Model Civil Jury Instmctions § s. 1.
20
                   The County contends that the only argument made by ICSOP as to this
     11 affirmative defense is the conditional $9 million payment, and since this payment
2211                            ..              .                   ..                .
     ll was only conditionally made with ICSOP claiming a full rtght of recoupment, no
23
"- 11 set-off or credit is available.
24
                   ICSOP responds that the County's comment does not address the elements of
25
"- 11 this defense.
26
                   Ninth Affirmative Defense - The County failed to use reasonable efforts to
2711..                                                   .                                ..
     11 mitigate damages, and the amount by which damages would have been mitigated.
28
                   The County states that it has no duty to mitigate damages vis-A-vis ICSOP.


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2 ll The County responds to ICSOP's claim that the settlement agreements were not
3 ll proper mitigation as follows: the settlement agreements were dictated by the Order,
4 ll and that the Policies cover settlements entered into by the Assured, giving ICSOP no
s     veto power over these agreements. The County further contends that the Regional
6     Water Quality Control Board did and does have the power to set the level of
7 ll contaminants to non-detect, not the Afaximuwi contaminant Ievel. The County notes
8     that it does not have the power to override the Board's determinations or to establish
9 ll a time limit for Board Orders. Finally, the County contends that this argument
 10 ll misrepresents the necessity of continued treatment according to the scientific data.
 11

              ICSOP responds that the County's comment does not address the elements of
 12
      this defense.
 13

 14           Tenth Affirmative Defense - The County's efforts to comply with CAO 98-96
 15 ll must constitute reasonable and necessary efforts to avoid or at lease minimize
 16 ll liability and the expenses incurred by the County must be reasonable and necessary
 17 ll for that purpose. Aerojet-General Corp. v. Transport Indemnity Co. (1997) 17
 13 ll Cal.4th 38, 61.
 19           The County states that it has no duty to mitigate damages vis-A-vis ICSOP.
20 ll The County responds to ICSOP's claim that the settlement agreements were not
21 ll proper mitigation as follows: the settlement agreements were dictated by the Order,
22 ll and that the Policies cover settlements entered into by the Assured, giving ICSOP no
23 ll veto power over these agreements. The County further contends that the Regional
24 ll Water Quality Control Board did and does have the power to set the level of
25 ll contaminants to non-detect, not the Afaximum contaminant level. The County notes
26 ll that it does not have the power to over?ide the Board's determinations or to establish
27 ll a time limit for Board Orders. Finally, the County contends that this argument
23 ll misrepresents the necessity of continued treatment according to the scientific data.
              ICSOP responds that the County's comment does not address the elements of

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 l

2
        this defense.
3

4
                            Eleventh Affirmative Defense - The Court's order granting the County's
s
        motion for partial summary judgment on ICSOP's late notice defenses has resolved
6
        this affirmative defense. (Dkt. 181).
7
                            Fourteenth Affirrnative Defense - The County did not file its suit within four
8
        years from the date the County alleges ICSOP breached the insurance contracts and
9
        the County incurred harm more than four years before the date of filing this suit.
 1011                                                      .       .                 ..
      11 See CACI 338; Califorma Code of Civil Procedure § 337(l).
 11
                            The County responds: ICSOP is attempting to resurrect a late notice defense
 1211.                                    .                    .                                                                 .,
      11 in contravention of this Court's July 24, 2017 0rder on the parties summary
 1311.                                        .                                 ..               .                                    .
      ll 3udgment motions. ICSOP's position necessarily depends on the notion that ICSOP
 1411                             ..                                                                 ...
      11 breached its duties more than four years before it filed this suit. It further follows
 1511                                                 ..               .                                         .                                            .
      11 that ICSOP's position requires that the County gave notice before the breach, which
 1611                         .                                                                                              .
      11 under this theory must have occurred before January 2012, which ICSOP has
 1711                                             .                                                          .                    .
      11 vehemently demed. The Court found that ICSOP waived any notice defense, yet
      11 ICSOP is still attempting to use its delay to defeat the County's claim, reversing its
      11 position and saying it did receive notice in 1997 or 2008. This gamesmanship is not
2011                                  .                                                   ....
      11 allowed by either the Court' s Order or evidentiary principles - ICSOP has presented
2111                    .                                  ..              .                                             .                .
      ll no evidence of the timing of its breach, or any argument against the tolhng of the
2211                                                  ..                         .                               ..                                       .
      ll statute based on its failure to provide a coverage deternnination. Indeed, ICSOP is
      11 barred by its limited interrogatory responses in presenting this defense: its only
2411                              .                                            ...                   .                                        .
      11 factual basis for the statute of limitations defense is based on the allegation of
2511                              ...                                          ..                        .
      ll constmctive notice in 1997, which is no longer at tssue. (ICSOP Response to
2611                .
      11 Special Interrogatory No. 15).
 27
                            Furthermore, ICSOP admits in its Response to Special Interrogatory No. 17
 2811           .                                     .                                   .                          .                            .   .
      ll that it has not demed coverage, even after it commenced this case; accordingly, it
        has judicially admitted facts that defeat this defense, since the statute of limitations
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2
         clock has not begun to run. While the statute of limitations on a breach of contract
3
         action is four years, it does not begin to mn until the breach occurs, and in an action
4
         to recover policy benefits, the statute does not begin to run until the insurer's
s
         unconditional denial of the insured's claim. Croskey et al., California Practice
6
         Guide: Insurance Litigation (The Rutter Group 2017) ffi 12:ll43 (citing State Farm
7
         Fire & Cas. Co. v. Superior Court, 210 Cal. App. 3d 604, 609 (Cal. Ct. App. l 989));
8
         Cal. Civ. Proc. Code 53 337 (2017). Also, given that ICSOP still has not provided a
9
         coverage determination to the County, the statute of limitations on the County's
 1011 .                                                                              .
      11 claim has not, even begun to mn. ICSOP Response to Special Interrogatory No. l 7;
 1111.                          ...                                   .
      11 April 27, 2017 Deposition Testimony of Royce Kmght (ICSOP Rule 30(b)(6)
 1211 .                                                               . .
      11 witness) at 50:9-51 :l (?Q. Has AIG made a determination as of today as to whether
 1311..                                                                     ..                .                .
      11 it will affirm or deny coverage? A. No, a coverage position on affirming or denying
 1411                                             ..                                         ....
      ll coverage has not been finally take at this point.?). Any statute of limitations is tolled
      11 while the insurer investigates the claim. Flmtkote Co. v. General Acctdent Assur.
 16 11
      11 Co. of Canada, 480 F. Supp. 2d 1167, 11 78-79 (N.D. Cal. 2007).
 17
                 ICSOP responds that the County' s comment does not address the elements of
 1811.                        ..                   .
      ll this defense. In addition, the County's inter?ogatory responses allege that ICSOP
 1911               ....
      11 breached its policies in 1997. County Response to ICSOP Interrogatory No. 17.
      ll There is no evidence that ICSOP was investigating the claim at any time between
21
         1997, when the County alleges breach, and 2014 and thus, the County's tolling
2211                  .            .          .                   .                               .
      ll argument fails. ICSOP is not required to concede it breached the contract in order to
2311                         ...                                                                      .
      11 assert a statute of limitations defense as the County suggests. Throughout this case,
2411                                                      .                          ..                   ..
      ll the County has asserted that ICSOP was notified of the claim in 1997 and again in
2511                                       ...                                           .
      11 2008, and that ICSOP breached its obligations by not accepting coverage for the
      ll claim when notice was provided. Tolling principles applicable tn sttuahons where
2711..                                                                           .
      ll the insurer is alleged to have a duty to defend are not applicable here, as ICSOP does
2811                                                          ,                               ,
      ll not have a duty to defend. See Northstar Remsurance Corp. v. Supertor Court
         (1992) 10 Cal.App.4th 1815, 1823.
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2


3
                 (c) The key evidence ICSOP relies on for each affirmative defense is:
4
?' 11            SecondAffirmativeDefense
s
                 Not applicable for the reason discussed above.
6
? 11             FourthAffirmativeDefense
7
                 (1 ) ICSOP's expert witness, Adam Love, will explain that the County cannot
8
         demonstrate that the property damage for which it has been held liable with respect
9
         to CAO 98-96 took place between July 23, 1966 and July 23, 1975, and any effort to
 1011                             .                                    .       .           .
      ll do so would be speculative. (2) M?r. Love's testimony will also establish that the
 1111                             .                                        .           .
      ll property damage for which the County has been held liable with respect to CAO 98-
 1211                                              .                               .               ..
      11 96 arose out of no more than a single occur?ence as defined in the ICSOP Policies.
 13
                 The County responds that the County's expert, Dr. Hromadka, and its
      ll percipient witnesses will provide scientific and historical evidence showing multiple
 1511                                     .                        .
      11 occurrences under the Policy language and this Court's July 24 0rder (Dkt. 181 )
      11 (?The ICSOP Policies define 'occurrence' in the dis.)unctive: an event or continuous
 17 11                                        ..
      ll or repeated exposure to conditions.?).
 18
                 ICSOP responds that Appendix A of the Court's Local Rules does not provide
 1911                  .              .                                            ..          .
      11 for the opposing party to insert a response to a party's description of key evidence,
2011                                                   ..
      11 and thus, the County's response is improper.
21
-" ll            Fifth Affirmative Defense
22
                 Not applicable for the reason discussed above.
23
-" ll            Sixth Affirmative Defense
24
                 Not applicable for the reason discussed above.
25
" 11             Seventh Affirrnative Defense
26
                 Not applicable for the reason discussed above.
27
                 Eighth Affirmative Defense
28
                 ICSOP has paid the County $9 million as reimbursement for costs the County
         allegedly has incurred in response to CAO 98-96.
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2


3
                Ninth Affirmative Defense
4
                (l ) The settlement agreements the County entered with the Water Companies
s
        required the County to assure that water produced from the Water Companies' wells
6
        meets the lowest concentration achievable by use of best available treatment
7
        technology currently or as hereafter required by any state or federal agency with
8
        jurisdiction over drinking water quality for any groundwater extraction well operated
9
     ll by the Water Companies. This agreement requires the County to treat groundwater
10 ll
        even after contaminant levels are below Maximum Contaminant Levels ("MCL?) set
11

     ll by federal or state agencies. The settlement agreements with the Water Companies
12 11
     ll do not provide the County with any means or method by which to terminate
13 11
     ll obligations under the agreements.
14 II

15              (2) As a result of the County's agreements with the Water Companies, the
16 ll costs the County will incur for operation and maintenance of the cor?ective action
17 ll system will exceed by approximately $3.1 million what the County would have
18 ll incurred had it agreed to treat water until contaminants of concern fall below the
19 11 MCL.
20
                Tenth Affirmative Defense
21

22
                (l ) The settlement agreements the County entered with the Water Companies
23 ll required the County to assure that water produced from the Water Companies' wells
24 ll meets the lowest concentration achievable by use of best available treatment
25 jj technology currently or as hereafter required by any state or federal agency with
26 jj jurisdiction over drinking water quality for any groundwater extraction well operated
27 ll by the Water Companies. This agreement requires the County to treat groundwater
28 ll even after contaminant levels are below Maximum Contaminant Levels ("MCL?) set
        by federal or state agencies. The settlement agreements with the Water Companies

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2     do not provide the County with any means or method by which to terminate
3     obligations under the agreements.
4
              (2) As a result of the County's agreements with the Water Companies, the
s
      costs the County will incur for operation and maintenance of the corrective action
6
      system will exceed by approximately $3. 1 million what the County would have
7
      incurred had it agreed to treat water until contaminants of concern fall below the
8
      MCL.
9

 10           Eleventh Affirmative Defense

 11
              Not applicable for the reason discussed above.
 12
              Fourteenth Affirmative Defense
 13

 14           (1 ) The County alleges that it provided notice of the claims for which it now
 15 ll seeks coverage to ICSOP in 1997 through the submission of a pollution legal
 16 ll liability insurance policy application, that ICSOP should have investigated and
 17 ll advised the County of whether the claims were covered under the ICSOP Policies,
 1 B ll that ICSOP should have paid the claim at that time and that ICSOP's failure to do so
 1 g ll breached its obligations to the County. The County alleges that it incurred over
20 ll $26.2 million between 1995 and August 27, 2014.
21            (2) This action was filed on January 21, 2016 and the County filed its
22 ll counterclaim on March 18, 2016, more than four years after the County alleges it
23 ll provided notice to ICSOP of the claims and after the County began incurring costs in
24 ll connection with the claims.
25            8. ISSUES REMAINING TO BE TRIED

26            In view of the admitted facts and the elements required to establish the claims,
27 ll counterclaims and affirmative defenses, the following issues remain to be tried: (1 )
23 ll whether the property damage identified in the Order for which the County seeks
      coverage was caused by an occurrence or occurrences as that ternn is defined in the

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2
        ICSOP Policies; (2) the number of occurrences that caused the property damage
3
        identified in the Order; (3) whether any or all of the property damage identified in
4
        the Order for which the County seeks coverage took place during the period of the
s
        ICSOP Policies (the County does not agree with this formulation); (4) whether
6
        ICSOP's refusal to provide coverage for the County's claim arising out of its
7
        obligations related to the Order constituted a breach of the ICSOP Policies; and (5)
8
        whether the County's claims are barred by the applicable statutes of limitations (the
9
        County does not agree this is an issue to be tried because under California law the
1011                ...                             .
     11 statute of limitations on the County's claim has not, even now, begun to run).
11
" 11            9. DISCOVERY
12
                All discovery is complete.
13
?'11            10. DISCLOSURES
14
                All disclosures under F. R. Civ. P. 26(a)(3) have been made.
15
                The parties have exchanged amended exhibit lists, and the joint exhibit list of
1611..                                                             .
     11 the parties will be filed under separate cover as required by L.R. 16-6. 1. Unless all
     11 parties agree that an exhibit shall be withdrawn, all exhibits will be admitted without
1811..                 .                     ...
     11 ob)ection at trial, except those exhibits listed below:
19
                ICSOP objects to Exhibit Nos. 44, 58, 60,63, 102, 123, 206-207,209-213,
ao ll 215-223, 226-227, 245-247, 253-255, 258-265, 268, 270, 281-282, 284-285, 287,
21
        289, 291-300, 302-305, 308-316. The objections and grounds therefor are:
22
                  Descri tion
23

24

25
           44     July 29, 2016 ICSOP's Responses              ICSOP objects
                                                               FRE 401-403
26
                  to 1st Set Rogs [Nos. l-5] with
                  Verification
27

28         58     ICSOP Severity Claim-Set Notes               ICSOP objects
                  (ISOP 005632-5634)                           FRE 401-403
                                                                                                 l
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2
         60    April 8, 2016 ICSOP's Answer to         ICSOP objects
3              Complaint                               FRE 401-403

4        63
               November 8, 2016 ICSOP's                ICSOP objects
               Responses to 2d Set Rogs [Nos. 6-       FRE 401-403
s
               16] with Verification
6
         102   June 5, 2015 Letter from McCurdy        ICSOP objects
               re Schulz                               FRE 401-403
7

8        123   May 9, 2017 Expert Report of            ICSOP objects
               Jeffrey H. Kinrich including            FRE 801-802
9              exhibits and appendices
 10
        206    July 29, 2016 ICSOP Responses to        ICSOP objects
               1st RFAs [Nos. l-31]                    FRE 401-403
 11

        207    July 29, 2016 ICSOP Responses to        ICSOP objects
 12
               1st RFPs [Nos. l-23]                    FRE 401-403
 13
        209    July 29, 2016 ICSOP Responses to        ICSOP objects
 14            2nd RFPs [Nos. 23-32]                   FRE 401-403

 15     210    September 13, 2016 ICSOP Suppl          ICSOP objects
               Responses to 1st RFPs [1-23]            FRE 401-403
 16
        211    September 14, 2016 ICSOP Suppl          ICSOP objects
 17            Responses to 1st RFAs [11, 12, 29,      FRE 401-403

 18
               30]

        212    September 15, 2016 ICSOP                ICSOP objects
 19
               Responses to 3rd RFPs [33-51 ]          FRE 401-403
20
        213    September 22, 2016 ICSOP's 2nd          ICSOP objects
21             Supplemental Responses to 1st           FRE 401-403
               RFAs [No. 14]
22

        215
               November 8, 2016 ICSOP's                ICSOP objects
23
               Responses to 2nd Set RFAs [32-61]       FRE 401-403

24
        216    May 1, 2017 ICSOP's Responses to ICSOP objects
25             3rd Set of RFAs [62-88]          FRE 401-403

26      217    May 1, 2017 ICSOP's Responses to ICSOP objects
               3rd Set Rogs [17-25]             FRE 401-403
27
        218    May 1, 2017 ICSOP's Responses to ICSOP objects
28             4th Set RFPs [52-63]             FRE 401-403
                                                                                l




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 1

2
          219
                June 7, 2016 ICSOP's Amended              ICSOP objects
3               Initial Disclosures                       FRE 401-403

4         220   May 12, 2017 ICSOP's Expert               ICSOP objects
                Witness Disclosures                       FRE 401-403
s
          221
                June 9, 2017 ICSOP's Rebuttal             ICSOP objects
6               Expert Disclosure                         FRE 401-403

7
          222   May 10, 2017 Expert Report of             ICSOP objects
 8
                John E. Edwards including                 FRE 801-802
                appendices                                Legal opinion
9
          223   May 12, 2017 Expert Report of             ICSOP objects
 10             Theodore V. Hromadka, II                  FRE 801-802
                including figures and appendices          Daubert
 11

          226   June 9, 2017 Rebuttal Expert              ICSOP objects
 12
                Report of Theodore V. Hromadka,           FRE 401-403
 13             II including figures and appendices       FRE 801-802
                                                          Daubert
 14

          227   June 7, 2017 Rebuttal Expert              ICSOP objects
 15                                                       FRE 801-802
                Report of John E. Edwards
 16                                                       Legal opinion

 17 i     245   Bechtel, 1993, Expanded Site              ICSOP objects
                Inspection, Site EPA ID Number:           FRE 401-403
 18
                CAT 080029630, December 9,
                1993
 19
                (COUNTYOOO50963-50993)
 20
          246   CH2MHill, 2006, Modeling the              ICSOP objects
 21             Fate of a Perchlorate Release at the      Untimely production
 22
                l 60-Acre Parcel in Rialto,
                California
 23             (COUNTYOOO83126-83140)
 24
          247
                Dames & Moore, 1992. Stormwater ICSOP objects
                Pollution Prevention Plan for             Untimely production
 25
                Stormwater Runoff. September
 26             1992.

 27
                (COUNTYOOO83141-83167)

 28




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2
       253   Geo-Logic Associates, 2007, Final        ICSOP objects
3            Closure Plan Forrner Broco               FRE 401-403
             Treatment, Storage, & Disposal
4
             Facility. March 2007
s            (COUNTYOOO67355-68324)
6      254
             Ravi, V., Johnson, J. A., 1997,          ICSOP objects
             VLEACH A one-dimensional finite          Untimely production
7
             difference vadose zone leaching
8            model, Version 2.2, Center for
             Subsurface Modeling Support,
9
             USEPA RSKERL, Ada, OK
10           (COUNTYOOO83168-83237)

11     255
             Rosenbloom, J. et al., 1993,             ICSOP objects
             Application of VLEACH to vadose          Untimely production
12
             zone transport of VOCs at an
13           Arizona superfund site, Ground
             Water Monitor. Remed.
14
             (COUNTYOOO83238)
15
       258   SB County Solid Waste                    ICSOP objects
             Management Department, 1991.             FRE 401-403
16
             Drainage & Erosion Control               Untimely production
17           Construction at Mid-Valley
18
             Landfill for the County of San
             Bernardino, Septemberl991
19           (COUNTYOOO83239-83248)
20
       259   SB County Solid Waste                    ICSOP objects
21
             Management Division, 2001. Fill          FRE 401-403
             Sequence Plan Unit 2 Phase 3,            Untimely production
22           August 2001
23
             (COUNTYOOO83250)

       260   SB County Solid Waste                    ICSOP objects
24
             Management Division, 2001. Fill          FRE 401-403
25           Sequence Plan Unit l Phase 1,            Untimely production
             August 2001
26
             (COUNTYOOO83249)
27

28




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2
       261   United States 96th Congress, House ICSOP objects
3            of Representatives, Committee on    FRE 401-403
             Interstate and Foreign Commerce     Untimely production
4
             Subcommittee on Oversight and
s            Investigations, Waste Disposal Site
             Survey Report together with
6
             Additional and Separate Views,
7            October 1979
             (COUNTYOOO83251-83790)
8

       262   United States 96th Congress, House ICSOP objects
9                                                FRE 401-403
             of Representatives, Committee on
10           Interstate and Foreign Commerce     Untimely production
             Subcommittee on Oversight and
11
             Investigations, Waste Disposal Site
12           Survey Report together with
             Additional and Separate Views,
13
             October 1979 - Waste Disposal
14           Site Survey - Forms A through D
             (COUNTYOOO83791-83833)
15

       263   Historical Aerial Photograph               ICSOP objects
16
             (Appendix D for Hromadka Expert            FRE90l

17           Report)

18     264   Historical Topographic Maps                See objections to 223
             (Appendix C for Hromadka Expert            FRE90l
19           Report)
20
       265   April 16, 2007 Declaration of Gary         ICSOP objects
             Lass in the matter of Perchlorate          FRE 401-403
21
             contamination at a 160-acre site in        FRE 801-802
22           the Rialto area.                           Untimely production
23
             (COUNTYOOO83834-83838)

       268   San Bernardino County, Auditor             ICSOP objects
24
             Division                                   FRE 401-403
25           (COUNTYOOO59082)
26
       270   July 14, 2014 Deposition of Claudia ICSOP objects that this is testimony,
             Rozzi                               not a proper exhibit
27

28




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2
       281   Cal Recycle: Facility/Site Summary ICSOP objects
3            Details: Mid-Valley Sanitary       Untimely production
             Landfill, available at:
4
             http://www.calrecycle.ca.gov/SWF
s            acilities/Directory/3 6-AA-
             0055/Detail
6
             (COUNTYOOO83839-83840)
7
       282   April21, 2017 Deposition of Ken         ICSOP objects that this is testimony,
8
             Hernandez                               not a proper exhibit

9      284   April 26, 2017 Deposition of            ICSOP objects that this is testimony,
             Michele Mehl                            not a proper exhibit
10
       285   April 27, 2017 Deposition to Royce ICSOP objects that this is testimony,
11           Knight                             not a proper exhibit
12
       286   January 25, 2008 Letter from            ICSOP objects FRE 401-403
             Schulz to Foggan                        Settlement communication
13
             (COUNTYOOO50831-50833)
14
       287   April 28, 2017 Deposition of Gerry      ICSOP objects that this is testimony,
15           Newcombe                                not a proper exhibit
16     289
             December 29, 2014 Claims                ICSOP objects FRE 401-403
             Handling Guidelines and Policy
17
             (LMO22372-22395)
18
       291
             October 29, 2004 Fontana Water          ICSOP objects
19           Company letter to CA Regional           Untimely production
             Water Quality Control Board
20
             (COUNTYOOO82911-82969)
21
       292   MVSL - Historical Summary -             ICSOP objects
22
             Monitoring Well F-4 (Abandoned)         Untimely production
             (COUNTYOOO82970)                        Incomplete
23
       293
             Well Data - F-OA                        ICSOP objects
24           (COUNTYOOO82971-82982)                  Untimely production
                                                     FRE901
25

       294
             Well Data - F-OB                        ICSOP objects
26
             (COUNTYOOO82983-82986)                  Untimely production
27                                                   FRE90l

28     295
             Well Data - F-OC                        ICSOP objects
             (COUNTYOOO82987-82988)                  Untimely production
                                                     FRE901

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1

2
            296   Fontana Water Company Water             ICSOP objects
3                 Well Levels Data - Well F-1 3A          Untimely production
                  (COUNTYOOO82989-82993)                  FRE901
4

            297
                  Well Data - #35                         ICSOP objects
s
                  (COU1STTYOOO82994-83001)                Untimely production
6
                                                          FRE901

7           298
                  Well Data - F-49A                       ICSOP objects
                  (COUNTYOOO83002-83003)                  Untimely production
8                                                         FRE90l

9
            299   Figure 4 - Combined Pumping in          ICSOP objects
 10
                  Model Area by City of Rialto,           Untimely production
                  FWC, and WVWD                           FRE90l
 11               (COUNTYOOO83004-83013)
 12
            300   FWC - Historical Summary Data -         ICSOP objects
                  Monitoring Well F-1 0B                  Untimely production
 13
                  (COUNTYOOO830l4-83081)                  FRE901
 14                                                       Incomplete
 15         302   January 7, 1958 County Grant Deed ICSOP objects
                  (COUNTYOOO83841-83842)            Untimely production
 16

            303   August 9, 1971 County Tmstee's          ICSOP objects
 17
                  Deed                                    Untimely production
 18               (COUNTYOOO83843-83845)

 19         304   August 28, 1972 County Grant            ICSOP objects
                  Deed                                    Untimely production
20
                  (COtJNTYOOO83848-83849)
21
            305   June 15, 1973 County Grant Deed         ICSOP objects
22
                  (COUNTYOOO83846-83847)                  Untimely production

            308   County Backup Costs                     ICSOP objects as exhibit'5 consists
23
                  (COUNTYOOOl2213-16325)                  of thousands of pages containing
24                                                        multiple documents that are not
25
                                                          properly described
                                                          FRE 401-403
26
            309   County Backup Costs                     ICSOP objects as exhibit consists
27                (COUNTYOOO16326-18200)                  of thousands of pages containing
                                                          multiple documents that are not
28
                                                          properly described
                                                          FRE 401-403
      l




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 1

2
        310     County Backup Costs                      ICSOP objects as "exhibit consists
3               (COtJNTYOOOl8259-23285)                  of thousands of pages containing
                                                         multiple documents that are not
4
                                                         properly described
s                                                        FRE 401-403

6       311     County Backup Costs                      ICSOP objects as exhibit consists
                (COUNTYOOO23286-23596)                   of hundreds of pages containing
7
                                                         multiple documents that are not
8                                                        properly described
                                                         FRE 401-403
9

        312     County Backup Costs                      ICSOP objects as "exhibit consists
 10             (COUNTYOOO23597-24055)                   of hundreds of pages containing
 11                                                      multiple documents that are not
                                                         properly described
 12                                                      FRE 401-403

 13
        313
                March 14, 2017 Roux Associates,          ICSOP objects FRE 401-403
 14
                Inc. Expert Retention Agreement

        314
                March 17, 2017 Roux Associates,          ICSOP objects FRE 401-403
 15
                Inc. Invoice
 16
        315     April 14, 2017 Roux Associates,          ICSOP objects FRE 401-403
 17             Inc. Invoice

 18     316     May 12, 2017 Roux Associates,            ICSOP objects FRE 401-403
                Inc. Invoice
 19
              The County objects to Exhibit Nos. 41, 51, 67, 70, 72-76,78-79, 101, 114,
20
      201-202, 229, 270, 282, 284-285, 287-288, 307, and 317. The objections and
21
      grounds therefor are:

23 l         Descri tion

24 l Exhibit
25       41     Verified Petition for Writ of            County objects: Irrelevant, FRE 401-
26              Mandate                                  403; Hearsay (FRE 802) if ICSOP
27              (COUNTYOOO24495-245 16)                  relies on statements in petition
28




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1

2
         51    July 31, 2015 Letter from County to County objects:
3
               ICSOP                                   FRE 401-403 (settlements not
4
               (COUNTYOOOO6628- 6630)                  broader than Order)
s

6
         67    May 3, 1995 Letter from GeoLogic        County objects:

7
               Associates ("Geologic") to County       incomplete

8
               (COUNTYOOOO8697-8701

9        70    Febmary 20, 1998 Memo from              County objects:
 10            Gary Kovall and Joel Moskowitz to       FRE 401-403

 11            Conway Collis                           FRE 408

 12            (COUNTYOOOl2080-12081)                  FRE90l

 13                                                    Privileged
 14
          72   September 1, 1998 Email and             County objects:
 15
               attachment from Gary Kovall to          FRE 401-403 (including settlements
 16
               Gindler Burton                          not broader than Order)
 17
               (COUNTYOOOll304-11308)
 18
          73   September 15, 1998 Interoffice          County objects:
 19
               memo from Gery Newcombe to              FRE 401-403 (including settlements
20
               the Board of Supervisors                not broader than Order)
21
               (COUNTYOOO11295-11296)
22

23
          74   October 6, 1998 Facsimile from          County objects:
               Dixie Lass to Gerry Newcombe and        FRE 401-403
24

               attachment                              FRE901
25

26             (COUNTYOOO51l73-51180)                  incomplete

27        75   November 10, 1998                       County objects:
28             Report/recommendation by County         FRE 401-403 (including settlements
                                                       not broader than Order)

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l

2
             76    February 2, 2000 Interoffice memo        County objects:
3
                   from Gerry Newcombe to John              FRE 401-403 (including settlements
4
                   Goss (COUNTYOOO5 1302-51303)             not broader than Order)
s

6
             78    November 17, 1998                        County objects:

7
                   Report/recommendation by County          FRE 401-403 (including settlements

8
                                                            not broader than Order)

9            79    May 16, 2000                             County objects:
10                 Report/Recommendation to Board           FRE 401-403 (including settlements
11                 of Supervisors enclosing Fontana         not broader than Order)
12                 Union Water Settlement Agreement
13
             101   May 10, 2017 Expert Report of            The County will object to witness
14
                   Adam H. Love, Ph.D. including            testimony and report under Daubert
15
                   exhibits [subject to objection]          and legal opinion
16
             114   June 6, 2017 Expert Rebuttal             The County will object to witness
17
                   Report of Adam H. Love, Ph.D.            testimony and report under Daubert
18
                   [subject to objection]                   and legal opinion
19

20
             201   May 12, 1998 Letter from Terry           County objects:
                   Cook to Conway Collis                    FRE 401-403
21

                   (COUNTYOOO5 1269)                        FRE90l
22

23           202   May 15, 1998 Letter from Conway          County objects:
24                 Collis to Fontana Water Company          FRE 401-403

25                 (COUNTYOOOl2053-12054)                   FRE 901 ; incomplete
26
             229   June 6, 2017 Rebuttal Expert             The County will object to witness
27
                   Report of Adam H. Love, Ph.D.            testimony and report under Daubert
28
                   [subject to objection]                   and legal opinion
     r
                                                                                                 I




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2
         270   July 14, 2014 Deposition of Claudia Subject to County objections stated
3
               Rozzi                                    and/or made at trial ICSOP objects
4
                                                        that this is testimony, not a proper
s
                                                        exhibit
6

7
         282   April21, 2017 Deposition of Ken          Subject to County objections stated

8
               Hernandez                                and/or made at trial ICSOP objects

9
                                                        that this is testimony, not a proper
                                                        exhibit
10

11       284   April 26, 2017 Deposition of             Subject to County objections stated
12             Michele Mehl                             and/or made at trial

13                                                      ICSOP objects that this is testimony,
14                                                      not a proper exhibit
15
         285   April 27, 2017 Deposition to Royce Subject to County objections stated
16
               Knight                                   and/or made at trial
17
                                                        ICSOP objects that this is testimony,
18
                                                        not a proper exhibit
19
       287     April 28, 2017 Deposition of Gerry       Subject to County objections stated
20
               Newcombe                                 and/or made at trial ICSOP objects
21
                                                        that this is testimony, not a proper
22
                                                        exhibit
23

24
         288   September 1, 1998 Letter from G.         County objects:

25             Kovall to T. Ryan                        FRE 401-403 (including settlements

26             COUNTYOOOll305-11308)                    not broader than Order)

27       307   June 15, 2017 Deposition of Adam         Subject to County objections stated
28             H. Love, Ph.D. [subject to               and/or made at trial as well as

               obj ection]                              Daubert and legal opinion objections

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2
              317     Numerical Groundwater Flow                 County objects:
3
                      Model Report, Rialto Colton Basin,         FRE 401-403
4
                      June 2012 CH2MHILL
s
     II             11. WITNESSLISTS
6
                    The parties have exchanged amended witness lists, and an amended joint
7
          witness list will be filed with the Court.
8
                    Only the witnesses identified in the lists will be permitted to testify (other than
9
     ll solely for impeachment).
10 11
                    The County has marked depositions it may present as evidence in accordance
11
     ll with L.R. 16-2.7. ICSOP has marked depositions it may present as evidence in
12 11
     ll accordance with L.R. 16-2.7. For this purpose, the following depositions shall be
13 11
     ll lodged with the Clerk as required by L.R. 32-l: Michele Mehl, Royce Knight, and
14 ll
     ll Gerry Newcombe.
15 11
                    Both parties object to the presentation of deposition testimony that does not
16
     ll satisfy the requirements of FRCP 32(a).
17 11
                    12. LAW AND MOTION MATTERS AND MOTIONS IN LIMIINE
18
                    The County has filed the following motions: (l ) County motion in limine to
19
     ll exclude testimony and related evidence of Walter J. Lipsman (now moot); (2)
20 it
     ll County motion in limine to exclude or limit testimony and related evidence of Dr.
21 11
     ll Adam Love's first and second opinions; (3) County motion in limine to exclude or
22 it
     ll limit testimony and related evidence of Dr. Adam Love's third, fourth, and fifth
23 it
     ll opinions; (4) County motions in limine to exclude or limit testimony and evidence of
24 11
     ll James A. Robertson (now moot); (5) County motion in limine to exclude non-
25 11
     ll disclosed evidence; (6) County motion in limine to exclude mediation
26 11
     ll communications and notice issues (now moot); (7) County motion in limine to
27 II
     ll exclude testimony and evidence contrary to California law; (8) County motion in
28 it
          limine to exclude testimony and evidence contrary to the Policy language; (9)


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2
       County motion in limine to exclude evidence of prejudice (now moot); (10) County
3
       motion in limine regarding lost documents (now moot); (11) County motion in
4
       limine to preclude experts from testifying as to legal opinions; and (12) County
s
       motion in limine re: no references to anti-stacking order by the Court and related
6
? 11 items,
7
                   ICSOP has filed the following motions: (1) ICSOP motion in limine to
8
       exclude testimony of Ken Hernandez (now moot); (2) ICSOP motion in limine to
9
       exclude testimony of Mitchell Lathrop (now moot); (3) ICSOP motion in limine to
1011                    .                                                 ....
     11 exclude testimony of James Falbo (now moot); (4) ICSOP motion in limine to
     11 preclude or limit testimony of Theodore Hromadka; (5) ICSOP motion in limine to
1211                                                      .
     11 preclude use of documents produced after discovery cutoff date.
13
                   13. The foregoing admissions having been made by the parties, and the
     11 parhes having specified the foregoing issues remaimng to be litigated, this Final
1511           .                                               .
     11 Pretrzal Conference Order shall supersede the pleadings and govern the course of the
     11 trial of this cause, unless modified to prevent mamfest in.)ustice.
17
       Dated:                                     ,20
18

19

20
                                                                        Hon. Philip S. Gutierrez
21

22

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 1

 2
         Approved as to form and content.
 3

 4

 s       /s/Kevin G. McCurdy
 6       Kevin G. McCurdy, Attorney for ICSOP
 7

 8

 9
 - 11 /s/Marc S. Maister
 10 11              .
      11 Marc S. Maister, Attorney for the County
 11

 12

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